                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                                 Plaintiff,      )
                                                 )
                 v.                              )       No.07-00187-10-CR-W-NKL
                                                 )
GAUDENCIO BAUTISTA,                              )
                                                 )
                                 Defendant.      )


                                REPORT AND RECOMMENDATION
                                 CONCERNING PLEA OF GUILTY

         The Defendant, by consent, has appeared before me pursuant to Fed.R.Crim.P. 11, Local Rule

72(j)(26), and 28 U.S.C. § 636, and has entered a plea of guilty to Count 4 of the Indictment. After

cautioning and examining the Defendant under oath concerning each of the subjects mentioned in

Fed.R.Crim.P. 11, I determined that the guilty plea is knowledgeable and voluntary and that the offense

charged is supported by an independent basis in fact containing each of the essential elements of such

offense. A record was made of the proceedings and a transcript is available. I therefore recommend that

the pleas of guilty be accepted and that the Defendant be adjudged guilty and have sentence imposed

accordingly.

         Failure to file written objections to this Report and Recommendation within ten (10) days from

the date of its service shall bar an aggrieved party from attacking such Report and Recommendation

before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).


                                                          s/ SARAH W. HAYS
                                                         SARAH W. HAYS
                                                         United States Magistrate Judge
Dated:    March 12, 2008




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